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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 18-60403-CIV-MOORE/SNOW

  ABS-CBN CORPORATION, ABS-CBN FILM
  PRODUCTIONS, INC., d/b/a Star Cinema and
  ABS-CBN INTERNATIONAL,

                 Plaintiffs,

  v.

  ANGPROBINSYANO1.COM a/k/a jhurlo.net a/k/a
  pinoytambayanlive.com, et al.

              Defendants.
  ___________________________________________/


         GENERAL ORDER ON DISCOVERY OBJECTIONS AND PROCEDURES

                 This matter is before the Court sua sponte. The Honorable K. Michael Moore, United

  States District Judge, has referred discovery matters in this case to the undersigned United States

  Magistrate Judge. (ECF No. 9) In order to efficiently resolve discovery disputes, the parties are

  hereby notified that the following rules apply to discovery objections before this Court. In addition,

  the procedure for filing discovery motions is set forth in Attachment “A” to this Order and is

  incorporated herein. This procedure does not apply to any discovery motion currently pending before

  the undersigned, but shall apply to any motion filed after the date of this Order.

  1. Vague, Overly Broad and Unduly Burdensome

                 The parties shall not make nonspecific, boilerplate objections. Such objections do

  not comply with Local Rule 26.1(g)(3)(A), which provides, “Where an objection is made to any

  interrogatory or sub-part thereof or to any document request under Federal Rule of Civil Procedure

  32, the objection shall state with specificity all grounds.” Objections that state that a discovery
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  request is “vague, overly broad or unduly burdensome” are, standing alone, meaningless and will be

  found meritless by this Court. A party objecting on these grounds must explain the specific and

  particular way in which a request is vague, overly broad or unduly burdensome. See Fed. R. Civ.

  P. 33(b)(4); Josephs v. Harris Corp., 677 F.2d 985, 992 (3rd Cir. 1982). Additionally, if a party

  believes that a request is vague, the party shall attempt to obtain clarification prior to objecting on

  this ground.

  2. Objections Based Upon Scope

                 If there is an objection based upon an unduly broad scope, such as time frame or

  geographic location, discovery should be provided as to those matters within the scope that is not

  disputed. For example, if discovery is sought nationwide for a ten-year period, and the responding

  party objects on the grounds that only a five-year period limited to activities in the State of Florida

  is appropriate, the responding party shall provide responsive discovery falling within the five-year

  period as to the State of Florida.

  3. Irrelevant and Not Reasonably Calculated to Lead to Admissible Evidence

                 An objection that a discovery request is irrelevant and not reasonably calculated to

  lead to admissible evidence must include a specific explanation describing why the request lacks

  relevance and why the information sought will not reasonably lead to admissible evidence. The

  parties are reminded that the Federal Rules allow for broad discovery that need not be admissible at

  trial. See, Fed. R. Civ. P. 26(b)(1); S.D. Fla. L. R. 26.1(g)(3)(A); Oppenheimer Fund, Inc. v.

  Sanders, 437 U.S. 340, 351-52 (1978).

  4. Formulaic Objections Followed by an Answer

                 The parties shall not recite a formulaic objection followed by an answer to the


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  request. It has become common practice for a party to object on the basis of any of the above

  reasons, and then state, “notwithstanding the above,” the party will respond to the discovery request,

  subject to or without waiving such objection. This type of objection and answer preserves nothing

  and serves only to waste the time and resources of the parties and the Court. Further, such practice

  leaves the requesting party uncertain as to whether the question actually has been fully answered or

  whether only a portion of the question has been answered. See, Civil Discovery Standards, 2004

  A.B.A. Sec. Lit. 18; S.D.Fla. L. R. 26.1(g)(3)(A).

  5. Objections Based Upon Privilege

                  Generalized objections asserting attorney-client privilege or work product doctrine

  also do not comply with the Local Rules. S.D.Fla. L. R. 26.1(g)(3)(B) requires that objections based

  upon privilege identify the specific nature of the privilege being asserted, as well as, inter alia, the

  nature and subject matter of the communication at issue and the sender and receiver of the

  communication and their relationship to each other. The parties are instructed to carefully review

  this rule and to refrain from objections such as, “Objection. This information is protected by

  attorney/client and/or work product privilege.” If a general objection of privilege is made without

  attaching a proper privilege log, the objection of privilege may be deemed to have been waived.

                  DONE and ORDERED at Fort Lauderdale, Florida this 14th day of March, 2018.




  Copies to:

  The Honorable K. Michael Moore
  United States District Judge

  All Counsel of Record and/or Pro Se Parties


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                            ATTACHMENT A
       DISCOVERY PROCEDURE FOR MAGISTRATE JUDGE LURANA S. SNOW

  MEET AND CONFER

           Counsel must actually confer (either in person or via telephone) and engage in a genuine
  effort to resolve discovery disputes before filing discovery motions.

  DISCOVERY MOTIONS

           If, after conferring, the parties are unable to resolve their discovery disputes without Court
  intervention, the moving party shall file a motion, no more than 5 pages in length. The moving
  party may attach as exhibits to the motion materials relevant to the discovery dispute. For example,
  if the dispute concerns interrogatories, the interrogatory responses (which restate the interrogatories)
  shall be filed, with an indication of which interrogatories remain in dispute. Because the parties may
  attach relevant discovery to the motion, compliance with S. D. Fla. L. R. 26.1(i)(2) or (3) is not
  required. The movant shall include in the motion a certificate of good faith that complies with S.D.
  Fla. L. R. 7.1(a)(3).

         Once a discovery motion is filed, the Court will review the motion, and either order a
  response, or issue an order setting the motion for a discovery conference. Telephonic appearances
  are not permitted.

  RESPONSES TO MOTIONS

          The responding party shall file a response to the discovery motion within the time frame
  ordered by the Court, or if the Court sets the motion for a discovery conference, no later than 5:00
  p.m., two days before the discovery conference noticed by the Court. The response shall be no more
  than 3 pages in length. The responding party may attach as exhibits materials relevant to the
  discovery dispute, as outlined above.

         No reply memoranda are permitted absent specific court order.

        These procedures do not relieve parties of the requirements of any Federal Rule of Civil
  Procedure or Local Rule except as noted above.

          The parties shall notify chambers as soon as practicable if they resolve some or all of the
  issues in dispute.


    THE COURT MAY DECLINE TO CONSIDER A MOTION OR RESPONSE WHICH
                DOES NOT COMPLY WITH THIS PROCEDURE




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